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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

    MELISA INGRAM, STEPHANIE
    WILSON, and ROBERT REEVES,                 Case No. 2:20-cv-10288
                                               Hon. Arthur J. Tarnow
            Plaintiffs,
    v.                                         Mag. Judge Elizabeth A. Stafford

    COUNTY OF WAYNE,

            Defendant.


              RESPONSE TO THE LETTER DATED MAY 13, 2021
                FILED BY PLAINTIFF STEPHANIE WILSON
                    BY DEFENDANT WAYNE COUNTY

         Although it is true that the Wayne County Circuit Court did grant summary

disposition to Claimant Stephanie Wilson in a written Order dated April 30, 2021, 1

and did orally deny the Wayne County Prosecutor’s Motion for Reconsideration and

for Stay on May 13, 2021 (although a written order confirming these latter oral

pronouncements has not yet been entered), the Wayne County Prosecutor is

appealing and will be seeking review of the state trial court’s arguably erroneous

application of Mich. Comp. Laws § 333.7521 et seq. to the facts of Wilson’s case.



1
  Wilson did not submit her proposed order on summary disposition under
Michigan’s seven-day rule under Mich. Ct. R. 2.602(B)(3), and the state trial court
signed it the day following the hearing presumably pursuant to Mich. Ct. R.
2.602(B)(1), without the Wayne County Prosecutor having the normal period to
review and/or object to its proposed form.
                                         1
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To the extent that Wilson represents, without providing the actual transcript of the

proceedings on May 13, 2021, that the state trial court opined that the existence of

her later-filed federal case had a material impact on its legal rulings, those

representations are not accurate. When the official transcripts from the two state

court hearings become available, Wayne County can provide these to the Court.

      As stated in Wayne County’s prior filing dated May 6, 2021, federal law

uniformly holds that Younger and Colorado River abstention continues through the

conclusion of any state court appellate process. Wilson has offered no contrary

authority. Thus, abstention under these doctrines is warranted despite the state trial

court’s recent rulings.

Dated: May 20, 2021                           Respectfully submitted,

                                              By: /s/ Davidde A. Stella
                                              Davidde A. Stella (P69948)
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                           CERTIFICATE OF SERVICE

      I certify that on May 20, 2021, I filed the foregoing, along with this Certificate

of Service with the Clerk of the Court via the court’s electronic filing system which

will send notice to all parties.

                                                     /s/ Davidde A. Stella
                                                     Davidde A. Stella (P69948)




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